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                   660 Newport Center Drive, Suite 900
              9 Newport Beach, CA 92660
                P: (949) 423-2100
             10
                   Attorneys for Defendants / Counterclaim Plaintiffs
             11 EVONY, LLC and REGAN MERCANTILE, LLC
             12
             13                                        UNITED STATES DISTRICT COURT
             14                           NORTHERN DISTRICT OF CALIFORNIA (OAKLAND)
             15
                   HEROIC ERA, LTD.,                                    Case No. 10-cv-2458 SBA (BZ)
             16
                                          Plaintiff /                   DECLARATION OF MARK FRAPPIER
             17                           Counterclaim Defendant,       IN SUPPORT OF DEFENDANTS’
                                                                        MOTION TO COMPEL
             18
                   v.                                                   The Honorable Saundra B. Armstrong
             19
                   EVONY, LLC, et al.,                                  Magistrate Judge Bernard Zimmerman
             20
                                          Defendants /
             21                           Counterclaim Plaintiffs.
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E DWARDS A NGELL    DEFENDANTS’ MOTION TO COMPEL
P ALMER & D ODGE    CIVIL ACTION NO. 10-CV-2458-SBA (BZ)
      LLP
                    BOS 861123.6
               1            I, Mark Frappier, a citizen of the State of California, do declare as follows.
               2      1. I am an independent consultant in the computer hardware and software design industries.
               3      2. A copy of my resume describing my qualifications and listing the consulting and litigation
               4   matters in which I have been involved is attached herewith.
               5      3. I have been engaged by Defendants, Evony, LLC and Regan Mercantile, LLC (collectively,
               6   “Evony”) to analyze and compare the Evony game source code and the allegedly infringing
               7   Caesary game source code. I am being paid $325 per hour, plus costs and expenses incurred, in
               8   connection with my consultation work.
               9      4. I was asked by Evony to prepare this declaration to offer my opinion on the function and
             10    interrelation of server and client source code, and whether Heroic Era has produced all versions
             11    of the client source code for the Caesary game.
             12       5. The documents I relied upon to form my opinions are disclosed in this declaration.
             13    Caesary Server-Side Source Code
             14       6. I have read the declaration of Mach Lai submitted to this Court by Heroic Era and agree
             15    that server side software “runs on servers that tracks user purchases and provides other game
             16    infrastructure.”
             17       7. The server side software runs on a computer called a server that is located on the Internet.
             18    When the user is operating the Caesary client software, there is communication between the client
             19    software running on the user’s computer and the server side software running on the server.
             20       8. All of the functions of the Caesary game would not be present if the Caesary client side
             21    software could not communicate with the Caesary server side software. As such, the server side
             22    software is a necessary component of the Caesary game.
             23    Caesary Client-Side Source Code
             24       9. I reviewed Heroic Era’s responses to Evony’s first and second set of document requests,
             25    both dated November 19, 2010. I reviewed documents produced by Heroic Era to determine if all
             26    versions of source code for the Caesary game were produced by Heroic Era. I am informed that
             27    Heroic Era’s production was organized by Heroic Era into folders corresponding to requests for
             28
E DWARDS A NGELL
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                   DECLARATION OF MARK FRAPPIER
P ALMER & D ODGE
      LLP          CIVIL ACTION NO. 10-CV-2458-SBA
               1   production. One such folder was labeled “REQUEST NO. 2.” My understanding is that the
               2   documents in this folder are in response to Evony’s document request no. 2, which requests “[a]ll
               3   copies of the source code, or any portion of the source, for the Caesary Game, including all
               4   versions and upgrades.”
               5      10. Upon inspection of the documents produced by Heroic Era in response to document request
               6   no. 2, I found that only two versions of Caesary client source code have been produced, and no
               7   versions of Caesary server-side source code have been produced.
               8      11. There is no metatada contained in Heroic Era’s production that indicates which versions of
               9   the source code have been produced, when the versions of the source code were created, or when
             10    these versions of source code were created or deployed to web sites for use by Caesary game
             11    players.
             12       12. In response to document request number 17, Heroic Era produced some Caesary client
             13    executable files. An executable file is a file that is run on a computer to perform various
             14    functions or operations. The Caesary client executable file performs client functions of the
             15    Caesary game and communicates with the Caesary server components of the game. A
             16    programmer creates an executable program by writing one or more source code files in a form
             17    that can be read and understood by a programmer. The source code files are then compiled into
             18    an executable file that cannot be read by a human, but is read and executed by the computer.
             19       13. Upon inspection of the documents produced in response to request number 17, I found 8
             20    different client executable files. These files are listed in the following table:
             21
                                                                                                  File Date      File Size
             22    Caesary Client Executable File Name                                            and Time        (Bytes)

             23                                                                                   11/10/10
                   REQUEST NO. 17\Caesary-Executable-Files\ClientMain.swf                             4:10       1921601
             24
                                                                                                       5/18/10
             25    REQUEST NO. 17\CaesaryGameVersions\client\ClientMain.swf                               3:31   1805818

             26                                                                                        6/21/10
                   REQUEST NO. 17\CaesaryGameVersions\client1\ClientMain.swf                             12:38   1826961
             27
             28
E DWARDS A NGELL
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                   DECLARATION OF MARK FRAPPIER
P ALMER & D ODGE
      LLP          CIVIL ACTION NO. 10-CV-2458-SBA
               1                                                                                 7/27/10
                   REQUEST NO. 17\CaesaryGameVersions\ver_201007271628\ClientMain.swf              15:59        1849505
               2
                                                                                                 8/17/10
               3   REQUEST NO. 17\CaesaryGameVersions\www_201008172046\ClientMain.swf              21:40        1857101

               4                                                                                  9/1/10
                   REQUEST NO. 17\CaesaryGameVersions\www_201009021447\ClientMain.swf              15:11        1857887
               5
                                                                                                10/19/10
               6   REQUEST NO. 17\CaesaryGameVersions\www_201010191414\ClientMain.swf              14:59        1916675

               7                                                                                11/15/10
                   REQUEST NO. 17\CaesaryGameVersions\www_201011151058\CLientMain.swf              13:53        1923860
               8
               9      14. In addition to these Client executable files, I personally downloaded a copy of the Caesary
             10    Client executable file from http://kingory.cachefly.net/images/cs/ClientMain.swf on 28 Jan 2011
             11    that contains 1,842,176 bytes. I also downloaded a copy of the Caesary client executable from
             12    the same web site on 16 June 2010 that contains 1,825,792 bytes. Different sized executable files
             13    are created from different versions of source code. Therefore, I conclude that these two Client
             14    executable files were not produced by Heroic Era.
             15       15. Combining the eight executable files produced by Heroic Era and the two different
             16    executable files I was able to locate from publicly available sources, and considering that each
             17    executable file must have a corresponding set of source code files, I am aware of at least 10
             18    versions of source code that should have been produced, but only 2 were found in Heroic Era’s
             19    production. As a result, I conclude that Heroic Era has not produced all versions of the Caesary
             20    client source code.
             21       16. I further declare subject to the penalty of perjury under the laws of the United States and
             22    the State of California that the foregoing is true and correct. Executed this 7th day of February,
             23    2011, at San Mateo, California.
             24
             25
             26
                                                         .       Mark Frappier
             27
             28
E DWARDS A NGELL
                                                                     4
                   DECLARATION OF MARK FRAPPIER
P ALMER & D ODGE
      LLP          CIVIL ACTION NO. 10-CV-2458-SBA
                                          Mark Frappier
                                          428 Occidental Ave
                                         San Mateo, CA 94402
                                             650-292-0506
                                          mark@frappier.net
Independent Consultant
1994-present
Independent consultant providing expertise in hardware and software design. Experience also includes
litigation support and patent analysis. Litigation projects include extensive work related to networking
components and switching products; reverse engineering of large C++ programs for medical imaging
systems; reverse engineering firmware for cell phones; reverse engineering hardware and microcode for
graphics controllers, several hard disk drive controllers, and personal computer motherboards; analysis of
several thousand patents for patent procurement and licensing.

Rational : Santa Clara, CA
1993-1994          Director of Technical Services
Responsible for forming and managing a Rational's Technical Services Organization( TSO). Hands-on
manager of group delivering Custom Engineering and Professional Services to Rational's military-
aerospace and commercial customers. In addition, all packaged training materials and consulting related to
the application of object technology are produced by the TSO.
.
Cooperative Solutions, Inc. : San Jose, CA
1991-1993         Director, Customer Services
Responsible for all aspects of post-sales customer support for this startup client/server software company.
This includes Technical Consulting, Technical Support, and Educational Services. In addition, my
organization was responsible for conducting technical product evaluations with prospective customers, and
maintaining relationships with system integration partners.
.
1989-1991         Manager, Technical Consulting
Responsible for recruiting and developing a group of consultants to help customers apply Cooperative
Solutions technology to their application development projects.

Rational : Santa Clara, CA
1987-1989          Manager, Technical Consulting
Lead a team of product specialists that were expert in various aspects of Rational's Ada software
development environment. Our group worked with large defense contractors, providing guidance in the
application of Rational's software development environment to very large projects. In addition, we built
training courses for all new products and provided technical support in all beta programs.

1985-1987         Field Technical Consultant
Responsible for support of Rational's customers in the eastern United States. Assisted them with all aspects
of applying Rational's technology to very large Ada software development projects.

1982-1985        Senior Engineer
Responsible for design and development of memory management hardware subsystem and diagnostics
hardware subsystem, in Rational's proprietary CPU.

Data General Corp. : Westboro, MA
1978-1982        Engineer
Responsible for design and development of microcomputer product line components including a custom
VLSI peripheral controller chip, a video controller board, and the MPT 100, Data General's first microNova
based desktop computer.

Other
Director, Notify Corporation 2007 – present
LITIGATION SUPPORT EXPERIENCE



Education
BSEE, Northeastern University, Boston, MA - Summa Cum Laude
LITIGATION SUPPORT EXPERIENCE

    Case:      IBM v. Conner Peripherals/Conner Peripherals v. IBM
    Matter:    patent Infringement – Winchester Disk Drive Technology
    Project:   Reverse engineering of disk controller firmaware. Gave testimony at deposition.
    Date:      1994 – 1995

    Case:      Compaq v. Packard Bell
    Matter:    Copyright infringement – personal computer hardware
    Project:   Technical consultant for Packard Bell
    Date:      1995 - 1996

    Case:      International Rectifier v. SGS Thomson
    Matter:    Patent infringement electronic ballast control circuits
    Project:   Technical consultant for International Rectifier
    Date:      1997

    Case:      Actel v. Quicklogic / Quicklogic v. Actel
    Matter:    Patent infringement and tradsecret misappropriation – programmable logic
               device technology
    Project:   Technical consultant for Actel.
    Date:      1996 - 1998

    Case:      Mooretown v. AKA Industries
    Matter:    Contract dispute and copyright infringement - electronic gaming software
    Project:   Reverse engineering gaming software.
    Date:      1998

    Case:      Thomson v. Lyons
    Matter:    Copyright infringement - Banking Databases
    Project:   Provided infringement opinion for Thomson
    Date:      1998

    Case:      Tandy Computers v. Synnex Corp.
    Matter     Contract dispute – personal computer products
    Project    Create and analyze failure data. Gave testimony at arbitration.
    Date:      1998-1999

    Case:      Intel v. Broadcom
    Matter:    Patent Infringement – High-Speed Ethernet technology
    Project:   Analysis for copying of VHDL designs and Ethernet network configurations.
               Gave testimony at trial.
    Date:      2001

    Case:      Medtronic v. BrainLAB
    Matter:    Patent infringement – image guided surgical equipment
    Project:   Technical consultant for Medtronic
    Date:      2002-2005

    Case:      Alcatel v. Internet Machines
    Matter:    Tradesecret misappropriation
    Project:   Analyze tradesecret claims and provide report for Internet Machines. Provided
               testimony at deposition.
    Date:      2002
LITIGATION SUPPORT EXPERIENCE

    Case:      Broadcom v. Intel
    Matter:    Patent Infringement – Memory arbitration and networking technology
    Project:   Technical consultant for Broadcom
    Date:      2002-2003

    Case:      Active English v. Menard’s Inc.
    Matter:    Patent infringement – database software
    Project:   Technical consultant for Menard’s
    Date:      2002-2004

    Case:      National v. Broadcom
    Matter:    Patent Infringement – Gigabit Ethernet technology
    Project:   Technical consultant for Broadcom
    Date:      2003

    Case:      Lucent Technologies v. Extreme Networks
    Matter     Patent infringement – Ethernet switching technology
    Project:   Technical consultant for Extreme Networks
    Date:      2003-2005

    Case:      Analog Devices v. Motorola
    Matter:    Patent Infringement – Microprocessor architecture
    Project:   Technical consultant for Motorola
    Date:      2003

    Case:      EMC v. NSI
    Matter:    Patent Infringement – Data backup software
    Project:   Technical consultant for EMC
    Date:      2003 - 2006

    Case:      Hitachi v. Envision
    Matter     Patent Infringement – Graphics monitor interfaces
    Project    Technical consultant for Envision
    Date:      2004

    Case:      TrendMicro v. FortiNet
    Matter:    Patent Infringement – Virus scanning in firewalls
    Project:   Technical consultant for TrendMicro
    Date:      2004 – 2006

    Case:      Arctic Cat v Injection Research
    Matter:    Patent Infringement – Engine control software
    Project:   Technical consultant for Injection Research
    Date:      2004 – 2005

    Case:      Hewlett Packard v. Gateway
    Matter:    Patent Infringement – Personal computer systems hardware and software
    Project:   Technical Consultant for Gateway
    Date:      2004 - 2006

    Case:      Enterasys v. Extreme Networks
    Matter:    Patent Infringement Ethernet switching technology
    Project:   Technical Consultant for Extreme Networks
    Date:      2005 - 2008
LITIGATION SUPPORT EXPERIENCE


    Case:      Volumetrics v General Electric Medical Systems
    Matter:    Patent Infringement – 3D Ultrasound Systems
    Project:   Technical Consultant for GE
    Date:      2005 - 2008

    Case:      Qualcomm v Nokia
    Matter:    Patent Infringement – Cellular Handsets
    Project:   Technical Consultant for Qualcomm
    Date:      2005 – 2008

    Case:      Avocent v. Belkin
    Matter:    Patent Infringement – KVM switches
    Project:   Technical Consultant for Belkin
    Date:      2007

    Case:      Trendmicro v Barracuda Networks
    Matter:    Patent Infringement – Virus scanning in firewalls
    Project:   Technical Consultant for TrendMicro
    Date:      2007 - 2008

    Case:      Hewlett Packard v. Acer
    Matter:    Patent Infringement – personal computer systems hardware
    Project:   Technical Consultant for Acer
    Date:      2007 – 2008

    Case:      Convolve v. Seagate
    Matter:    Patent Infringement and Trade Secret Misappropriation–disk drive control
    Project:   Technical Consultant for Seagate
    Date:      2008 –

    Case:      Realtime Data v Bluecoat
    Matter:    Patent Infringement – Networking and data compression
    Project:   Technical Consultant for Bluecoat
    Date:      2008 – 2009

    Case:      Network Appliance Inc. v Sun Microsystems
    Matter:    Patent Infringement – Network file systems
    Project:   Technical consultant for Network Appliance
    Date:      2009 - 2009

    Case:      TCS v Sybase
    Matter:    Patent Infringement – SMS Gateways
    Project:   Technical consultant for Sybase
    Date:      2009 - 2010

    Case:      Apple v Elan
    Matter:    Patent Infringement – Touchpad devices
    Project:   Technical consultant for Apple
    Date:      2010 -

    Case:      TecSec v Sybase
    Matter:    Patent Infringement – Data Encryption
    Project:   Technical consultant for Sybase
    Date:      2010 -
LITIGATION SUPPORT EXPERIENCE

    Case:      Mirror Worlds v Apple
    Matter:    Patent Infringement – Graphical User Interfaces
    Project:   Technical consultant for Apple
    Date:      2010

    Case:      Trendmicro v. Fortinet
    Matter:    Patent Infringement – Program Execution Authorization
    Project:   Technical consultant for Trendmicro
    Date:      2010 –

    Case:      CEATS, Inc. v. Continental Airlines et. Al.
    Matter:    Patent Infringment – Reservation systems software
    Project:   Technical Consultant for CEATS
    Date:      2010 -
